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                         UNITED STATES DISTRICT COURT

                           DISTRICT OF SOUTH DAKOTA

                                 WESTERN DIVISION


 UNITED STATES OF AMERICA,                            5:22-CR-50073-KES-1

                    Plaintiff,

       vs.                                    ORDER DENYING PRO SE REQUEST
                                                  FOR JUDICIAL NOTICE
 ANTHONY WARD,

                    Defendant.


       Defendant, Anthony Ward, filed a pro se request for the court to take

 judicial notice of various alleged facts in the above-entitled action. Docket 199.

 The court denies the request for the reasons that follow.

                                    DISCUSSION

       Rule 201 of the Rules of Evidence, which governs when the court may

 take judicial notice, applies only to adjudicative facts, not legislative facts. Fed.

 R. Evid. 201(a). “Legislative facts are established truths, facts or

 pronouncements that do not change from case to case but apply universally,

 while adjudicative facts are those developed in a particular case.” United States

 v. Gould, 536 F.2d 216, 220 (8th Cir. 1976). Adjudicative facts may be

 judicially noticed sua sponte or at a party’s request where the fact is not

 subject to reasonable dispute because it is generally known within the court’s

 jurisdiction or “can be accurately and readily determined from sources whose

 accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b)–(c). “Judicial
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 notice [of a fact] may be taken at any stage of the proceeding . . . .” United

 States v. Love, 20 F.4th 407, 412 (8th Cir. 2021) (quotation omitted).

       “In a criminal case, the court must instruct the jury that it may or may

 not accept the noticed [adjudicative] fact as conclusive.” Fed. R. Evid. 201(f).

 “[J]udicially noticed legislative facts need not be submitted to the jury.” Love,

 20 F.4th at 412. “Caution must . . . be taken to avoid admitting evidence,

 through the use of judicial notice, in contravention of the relevancy,

 foundation, and hearsay rules.” American Prairie Const. Co. v. Hoich, 560 F.3d

 780, 787 (8th Cir. 2009).

       First, Ward requests that the court take judicial notice that “[t]he

 Government’s case has been mainly in chief that the defendant was identified

 in a traffic stop and alleged to be caught with drugs and a gun in allegedly his

 bags.” Docket 199 at 1. The government’s case-in-chief is the period of the trial

 in which the prosecutor presents evidence to support the charges against the

 defendant. See Case-in-chief, Black’s Law Dictionary (11th ed. 2019). Trial has

 not yet begun, and thus it is premature for the court to take judicial notice of

 what the government’s case-in-chief may be. Moreover, Ward’s request is not

 an appropriate subject for judicial notice because it is not a fact, but rather a

 characterization of the government’s evidence. See Fed. R. Evid. 201(b)(2)

 (limiting judicial notice to facts that can be accurately and readily determined

 from sources). Thus, Ward’s first request for judicial notice is denied.

       Second, Ward requests that judicial notice be taken that “[t]he

 government has alleged that there w[ere] only two bags throughout the

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 discovery and all the contraband was found in his bags.” Docket 199 at 1. The

 court declines to take judicial notice of this characterization of the

 government’s argument because government witnesses have testified, during

 the suppression hearing, that contraband was found in other locations,

 including on Ward’s person and in the center console. See Docket 84 at 117,

 144–45. Because this fact is subject to reasonable dispute, the court refuses to

 take judicial notice of it.

       Third, Ward requests the court take judicial notice that “[a]ll the pictures

 submitted by the government have only two bags.” Docket 199 at 1. The

 government offered photographs of the vehicle in which Ward was apprehended

 at the evidentiary hearing on November 16, 2023. See Docket 189 at 45–96.

 The court declines to take judicial notice of the number of bags in the

 photographs because the jury is capable as the finder of fact of interpreting the

 evidence offered by the government. Moreover, an adjudicative fact such as the

 number of bags in the car must ultimately be submitted to the jury even if

 judicially noticed. See Fed. R. Evid. 201(f) (requiring that in a criminal case the

 jury be instructed that it may or may not accept as conclusive a noticed fact).

       Fourth, Ward makes a multipronged request that asks the court to take

 judicial notice that the testimony of law enforcement officers at prior

 proceedings does not support the presence of only two bags in the vehicle. See

 Docket 199 at 1. This request is also denied. If the officers testify at trial, Ward

 may impeach their testimony with prior inconsistent statements if permitted by




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 the rules of evidence. See Fed. R. Evid. 613(b). Because this fact is subject to

 reasonable dispute, the court refuses to take judicial notice of it.

                                   CONCLUSION

       For the reasons above, it is

       ORDERED that Ward’s request for judicial notice (Docket 199) is denied.

       Dated December 1, 2023.

                                       BY THE COURT:


                                       /s/ Karen E. Schreier
                                       KAREN E. SCHREIER
                                       UNITED STATES DISTRICT JUDGE




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